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13                             UNITED STATES DISTRICT COURT
14                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                           Case No. 4:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of           DECLARATION OF N
   themselves and all others similarly situated,            A       IN SUPPORT OF
17               Plaintiffs,
                                                            PLAINTIFFS’ MOTIONS FOR
                                                            PRELIMINARY INJUNCTION
18        v.                                                AND PROVISIONAL CLASS
                                                            CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4317766.6]
        DECLARATION OF N         A        IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                           INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1         I, N      A       , declare:
 2         1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify.
 4         2.     I am incarcerated in federal prison and have been incarcerated at FCI Dublin
 5 from October 2019 to present. My release date is currently February 2038. In the future
 6 BOP may transfer me to other BOP facilities, but at any point I could be transferred back
 7 to FCI Dublin.
 8         3.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
 9 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
10 and put myself and other incarcerated persons at substantial risk of imminent serious harm
11 from sexual assault, harassment, and retaliation from staff.
12         4.     While at FCI Dublin, I experienced sexual abuse by Officer Ramos. Within
13 a day or two of my arrival at FCI Dublin in late 2019, Officer Ramos began harassing me,
14 humiliating me, and touching me inappropriately. This abuse continued until he was
15 placed on administrative leave in March 2022.
16         5.     At first, he took my stuff, as a way to get my attention. Right after I arrived,
17 Officer Ramos followed me to my unit. It made me uncomfortable, and I didn’t know why
18 he was following me, so I hid behind another woman and hid under a table in the unit.
19 Officer Ramos then made me give him the shoes and clothes I was carrying. I never got
20 them back. Later, he started he would come to my room, grab me by my arm, and kiss my
21 ear. He would do this every time he was on my unit, or even when he wasn’t on my unit.
22 He would take my MP3 player and plug it in on the unit. He did it in the kitchen, he was
23 open about it. I felt like I was in a whole relationship with him. He would listen to my
24 phone calls, tell me my family wasn’t going to wait for me.
25         6.     When I got a girlfriend in spring 2020, Officer Ramos started being
26 aggressive and jealous. He would hit my room three days in a row. If he saw me walking
27 with my friend, he would hit my room. He would threaten me verbally while slamming
28 the tables which made me feel unsafe. Officer Young saw this abuse and told me to hide
   [4317766.6]                                1
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 1 in the back room to avoid Officer Ramos, but I knew that the back room was not safe
 2 because there were no cameras there and other officers would take incarcerated women
 3 there. Officer Ramos would come to my room at night and harass me and acted jealous
 4 and possessive of me; he was very controlling even telling me what color I should paint
 5 my toenails. On July 4, 2020, Officer Ramos came up next to me in the cafeteria, blew a
 6 kiss in my ear, and said, “I hope you drop your tray,” which I took to mean he wanted me
 7 to bend over in front of him to pick it up. I was so uncomfortable and upset that I
 8 purposely dropped my tray, did not pick it up, and walked away.
 9         7.     Officer Ramos would also flirt with my roommate, make a mess in our room,
10 and then throw my property away. Officer Ramos would pass by me while he was driving
11 the trash cart and would try to get me to bend over to pick up the trash so he could watch.
12 I felt like I had no choice but to do what he said, or he would have written me up for
13 disobeying staff.
14         8.     Officer Saucedo knew of Officer Ramos’s abuse and on a few occasions took
15 my property with Officer Ramos or would knock on the window of my room in a way that
16 made me nervous and uncomfortable. He came into the Kitchen with Officer Saucedo and
17 demanded that I take off my top shirt, or my pants, one time even my shoes. Other
18 incarcerated women, including my roommate, witnessed the abuse.
19         9.     Towards the end of 2020, I was under so much stress from Ramos’ abuse
20 that I had to leave my job in kitchen. I didn’t go to rec. I became antisocial, not wanting
21 to leave my room. Until this day, it’s hard for me to feel comfortable when I leave my
22 room and I do not feel safe at FCI Dublin.
23         10.    I first reported the abuse to my counselor, Ms. Minor. If she was there,
24 Ramos wouldn’t mess with me in my unit, but nothing stopped the abuse outside my unit
25 or when Ms. Minor was not around, so for a period of time I stopped leaving my room,
26 even for meals. After an incident with Officer Ramos in the kitchen, I went to see the
27 psychiatrist Dr. Hong, who basically said, “out of sight, out of mind” And refused to help
28 me. I knew my counselor didn’t want to lose her job, and she tried to protect me as much
   [4317766.6]                                2
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 1 as she could.
 2         11.     When moved out of B Unit, Officer Mendoza was working there in C-Unit.
 3 Ramos came by again. When I was in C Unit, I asked the officers there, including Officer
 4 Mendoza not to let Officer Ramos into the unit, but instead of offering any real help,
 5 Officer Mendoza said, “don’t put me in this predicament with my coworkers.” Officer
 6 Mendoza asked me to write down what was happening, but nothing came of that. I was
 7 afraid to put anything in writing because I knew Ramos or other officers working with him
 8 would see it and retaliate against me.
 9         12.     Then, Ms. Minor advised me to report to Warden Garcia, which I did,
10 verbally in front of C-Side, he said Officer Ramos’s behavior was like when a boy in
11 elementary school pulls your hair because he likes you. When I didn’t laugh or respond
12 positively, Warden Garcia said that as long as Officer Ramos is not penetrating you or
13 doing anything physical, there is nothing the Warden could do. Later, I found out that
14 Warden Garcia was also abusing incarcerated women.
15         13.     After I told Ms. Minor what the Warden said, she advised me to write it to
16 OIG. She was clearly worried about retaliation and said that I shouldn’t say that she
17 advised me to do so. I sent OIG that email right after I talked to Garcia in 2020, but I
18 never heard back from OIG after emailing. Officer Ramos’ abuse slowed down and
19 stopped briefly after I emailed OIG, but then he became aggressive again and also started
20 hitting my room repeatedly, ultimately leaving me with only what I had on. Since
21 experiencing Officer Ramos’s abuse and retaliation, and the continuing retaliation of
22 officers he was close to, I stopped coming out of my room as much as I can avoid it. I still
23 feel afraid now I will face further retaliation for meeting with counsel.
24         14.     When I arrived at FCI Dublin in 2019 I was not provided adequate training
25 and information about how to respond to sexual abuse. I was provided barely any
26 information about PREA or how to report sexual assault. When I arrived, I did not know
27 who to call to report my abuse, and I didn’t know what OIG was or that you could contact
28 them. Once someone told me about the OIG email, I sent in a message about Officer
   [4317766.6]                             3
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 1 Ramos, but I never received a response. Now there are numbers posted on the phone,
 2 supposedly for us to call to report abuse, but I know of other incarcerated people at FCI
 3 Dublin who have talked on the phone about their abuse just to their families and have been
 4 sent to the SHU as retaliation for reporting.
 5         15.     There is no effective way to confidentially report sexual assault and abuse by
 6 staff at FCI Dublin. I emailed OIG when my counselor suggested it, but I never heard
 7 anything back and I believe Officer Ramos knew I had emailed OIG to report his abuse. I
 8 know of other incarcerated women who have been afraid to report abuse to anyone at BOP
 9 or FCI Dublin and have told their families, and then been retaliated against with SHU
10 placements. I do not believe that what I would tell psych would be kept confidential
11 because the officers all talk to each other and that makes me uncomfortable sharing with
12 mental health staff.
13         16.     Staff at FCI Dublin prevent people from reporting sexual assault and abuse
14 by staff and retaliate against people who do report. Even though Officer Ramos is gone, as
15 is Officer Saucedo, with whom he collaborated in harassing me and others, Officer
16 Mengra, who was close with them, has recently singled me out for retaliation. For
17 example, I was recently walking back to my room after work with other incarcerated
18 women, and Officer Mengra told me to sweep up goose poop. Even though that is not my
19 job, and I was the only one she told to do it, I did what she said because I thought I would
20 get a disciplinary write-up if I didn’t. It felt like retaliation for reporting Officer Ramos’s
21 abuse because I know Officer Mengra was close with him. I reported this incident to
22 Captain Valero, who told me there was no problem with it.
23         17.     I have also recently been verbally harassed by Lt. Ramirez, a female officer.
24 After I was placed in the SHU the first time this spring in March 2023, within the month
25 after I was let out, Lt. Ramirez repeatedly singled me out in front of other officers and
26 incarcerated people. She told me to get my clothing altered, telling me my FCI-Dublin-
27 issued shirt is too light, and yelled across the compound that she’s going to fix my
28 wardrobe. Soon after, Lt. Ramirez called me in for a urinalysis. It was my first, and I am
   [4317766.6]                                 4
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 1 not on any medications or drugs, but my test was dirty; the CDHO said it was 10 mg
 2 suboxone, and I did not know how that could have happened. I was put in the SHU again
 3 in May because of the positive test and had another urinalysis in the SHU that came out
 4 clean, so I believe Lt. Ramirez tampered with my test so that I would be punished. SIS
 5 Lt. Putnum tried to talk to me when I was in the SHU but I do not trust him because he has
 6 been here the whole time while BOP staff has been abusing incarcerated women.
 7                 18.   In March 2023, I was placed in the SHU for having green clothing, which is
 8 issued by FCI Dublin and was never a punishable offense before. They called having the
 9 green clothing an escape attempt and a dangerous instrument. I know that only one other
10 incarcerated woman and myself were punished with a SHU placement for this, and I feel
11 targeted because I feel that staff know that I reported Ramos. I reported this to SIS Lt.
12 Putnam and reported to the regional office, but nothing has happened yet. Because of that
13 placement, I lost 41 good days and six months of privileges including being able to see my
14 family; I lost the same with my other SHU placement, so I have now lost 82 good days and
15 a full year of privileges. They said they are investigating it but I haven’t received my good
16 days back yet. I was already having trouble getting to see my family, as my visitation
17 forms were never approved, and now I am very worried that I will have to wait another
18 year because of the ongoing retaliation.
19                 19.   When incarcerated persons report sexual assault and abuse by staff, FCI
20 Dublin and BOP do not seriously investigate the reports. Investigations are frequently
21 delayed and overseen by staff who know and work with the offending staff member.
22 Generally nothing happens as a result. When I reported Officer Ramos’s abuse to Officer
23 Mendoza in C Unit and asked her to keep Officer Ramos from coming into the unit to
24 harass me, he said not to put her in a predicament with her coworkers. My understanding
25 from that exchange was that the officer cared more about the consequences helping me
26 would have for her than about my safety. Reporting to Warden Garcia and OIG resulted in
27 nothing except that soon after, Officer Ramos’s behavior toward me became more
28 aggressive.
     [4317766.6]                                       5
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 1         20.     I have not been able to access confidential mental health care at FCI Dublin.
 2 I have anxiety when they come, I feel like they’re coming for me, I can’t come out of my
 3 room. I’m very antisocial. I just don’t want to talk to people. I can’t go out to rec. I feel
 4 like it’s going to be something that’s targeted. I don’t feel normal. I already have enough
 5 with my time. Lt. Putnam recently sent me to the psych unit. But I know that the medical
 6 officers and abusive officers all work together, and I know that I can’t trust them. The
 7 psych unit said that they’d send someone from outside FCI Dublin to provide mental
 8 health care for me, Tri Valley Care, but that has not happened. I have not been told
 9 anything else about Tri Valley Care or how to access it.
10         21.     There is little to no medical care available to survivors of sexual abuse and
11 assault at FCI Dublin. There is currently no medical doctor at the facility. I was sent to
12 the medical unit for a PREA check after I talked to Putnam after I got out of the SHU,
13 that’s when he said they’d send me to psychology, but I did not feel safe to tell them
14 anything about what I have experienced. I have had trouble getting adequate medical care
15 unrelated to abuse, so I avoid going to medical. For example, I recently hit my leg on a
16 locker and got a huge bruise that made my leg purple and swollen, and I could not walk.
17 When I went to medical in September, they just told me to put ice on it, and the
18 Mr. Williams argued with me and thought I was making up my symptoms. I have
19 scoliosis, but FCI Dublin only gave me an extra pillow to put between my legs, which is
20 not really helpful. Before being incarcerated at FCI Dublin, I would go to therapy for
21 scoliosis, but I have been unable to get that care here.
22         22.     The camera system at FCI Dublin is inadequate. There are some cameras
23 installed in fixed locations in the facility, but it is well known that there are no cameras in
24 many areas. There were no cameras until now, or there were only cameras that did not
25 work. The cameras were only recently put up, and the officers always know which
26 cameras did and didn’t work. I know that this is how officers, including Warden Garcia,
27 could abuse people for so long so I do not feel safe even with the new cameras. I just want
28 to be left alone. That’s all I ask. I want to do my time and be left alone.
   [4317766.6]                                     6
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